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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ELLE LALLI,
                                         Civil Action No. 1:24-cv-03178-LJL
                  Plaintiff,

       -v-

WARNER BROS. DISCOVERY, INC.;
WARNER MEDIA, LLC U.S. SEVERANCE
PLAN,

                  Defendants.


______________________________________________________________________________

          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION FOR
                          DECLARATORY JUDGMENT
______________________________________________________________________________


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I.     PRELIMINARY STATEMENT

       On October 18, 2024, this Court issued an Order permitting Plaintiff to file an amended

complaint and allowing Defendant Warner Bros. Discovery, Inc. (“WBD”) to renew its motion to

dismiss and transfer venue to the United States District Court for the Northern District of Georgia

and Defendant Warner Media, LLC U.S. Severance Plan (“WM Severance Plan”) to join in

Defendant WBD’s Motion. [Dkt. No. 40]. Plaintiff subsequently filed her seventy-five-page

complaint in this Court. [Dkt. No. 41 (“Amended Complaint” or “FAC”)]. Plaintiff’s meandering,

lengthy complaint contains 233 paragraphs, with 116 paragraphs that contain alleged facts. In her

lengthy Amended Complaint, Plaintiff asserts a total of seventeen (17) causes of action under

federal and New York state law against Defendants Warner Bros. Discovery, Inc. (“WBD”) and

Warner Media, LLC U.S. Severance Plan (“WM Severance Plan”) (collectively as “Defendants”).

While it is unclear from Plaintiff’s scattershot and prolix Amended Complaint, Defendants

understand the first sixteen (16) claims are brought solely against Defendant WBD and the

seventeenth claim – a cause of action for the alleged unlawful denial of ERISA severance benefits

pursuant to Section 502(a)(1)(b) and (a)(3) – is brought solely against Defendant WM Severance

Plan. (See FAC ¶ 220). As recognized by Plaintiff in her Amended Complaint, the operative

severance plan is the Warner Media, LLC U.S. Severance Plan established and effective as of

August 1, 2022 (the “2022 ERISA Severance Plan”). (FAC ¶ 221).

       Given that the terms of the 2022 ERISA Severance Plan control whether Plaintiff is entitled

to receive any severance benefits, and Plaintiff failed to execute the release required by the 2022

ERISA Severance Plan, the Court should grant Defendants’ motion for declaratory relief and issue

a declaratory judgment that Plaintiff must sign a release of all claims if she prevails on her ERISA

claim, and all other claims in her Amended Complaint must be dismissed.




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II.    STATEMENT OF RELEVANT FACTS

       As described above, the relevant document is the 2022 ERISA Severance Plan. 1 While

Plaintiff references and quotes sections of the Plan throughout her Amended Complaint, she fails

to include the relevant portions of the applicable plan regarding severance pay, eligibility, and the

release requirement. For example, as described in the applicable 2022 severance plan, receipt of

severance benefits at any amount under the ERISA severance plan would require Plaintiff to

execute a release of all other claims arising from her termination:

               You will not receive severance pay and other benefits under the Plan
               unless . . . you execute a separation agreement and general
               release . . . (the “General Release”), under which, among other
               things, you release and discharge the Company, Participating
               Affiliates, Related Companies, related entities and persons from all
               claims and liabilities (unless such release is prohibited by applicable
               law) for any period up to the date you execute the General Release,
               including but not limited to all claims and liabilities relating to your
               employment with your Participating Employer and/or the
               termination of your employment . . . . For purposes of clarity, your
               Participating Employer will not pay or continue to pay severance
               pay or any other benefits under this Plan unless you satisfy the
               Release Requirement.
       (Exhibit A, 2022 ERISA Severance Plan, pp. 5-6). 2


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  On October 11, 2024, Plaintiff filed a Rely Memorandum in Support of her Motion for an Order
Granting Leave to File her Proposed First Amended Complaint against Defendants. [Dkt. No. 39].
In her Reply, Plaintiff – among other things – asserts that the exhibit to Defendant WBD’s
opposition brief (Dkt. No 35-1) was an incorrect and superseded version of the ERISA Severance
Plan (the “2021 ERISA Severance Plan”). [Dkt. No. 39, n. 3]. While it is correct that the 2021
ERISA Severance Plan had been updated and replaced by the 2022 ERISA Severance Plan, the
only meaningful difference between the 2021 and 2022 versions of the ERISA Severance Plan is
that the 2022 version includes a lump sum payment option for foreign nationals. All of the relevant
provisions of the 2021 and 2022 versions of the ERISA Severance Plan are identical, including
but not limited to the terms regarding severance pay, eligibility, and the release requirement.
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  A district court may consider “not only the assertions made within the four corners of the
complaint itself, but also those contained in documents attached to the pleadings or in documents
incorporated by reference.” Gregory v. Daly, 243 F.3d 687, 691 (2d Cir. 2001); see also Kramer
v. Vendome Grp. LLC, No. 11 Civ. 5245 (RJS), 2012 WL 4841310, at *1 (S.D.N.Y. Oct. 4, 2012).
Moreover, records of an administrative agency are public records and contain facts that “can be
accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”


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       Thus, any employee (including Plaintiff) must execute a release in order to receive any

severance pay under the terms of the 2022 ERISA Severance Plan.

III.   LEGAL ARGUMENT AND CITATION OF AUTHORITIES

       Pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. § 2201, Defendants ask the Court to issue a

declaratory judgment that Plaintiff must sign a release of all claims if she prevails on her ERISA

claim, and all other claims in her Amended Complaint must be dismissed.

       “A request for a declaratory judgment . . . is ripe for adjudication if there ‘is a substantial

controversy, between parties having adverse legal interests, of sufficient immediacy and

reality.’” Mishcon De Reya N.Y. LLP v. Grail Semiconductor, Inc., 2014 WL 656062, at *5

(S.D.N.Y. Feb. 20, 2014) (quoting Duane Reade, Inc. v. St. Paul Fire & Marine Ins. Co., 411 F.3d

384, 388 (2d Cir. 2005)). Courts determine whether a “substantial controversy” exists on a case-

by-case basis, but generally entertain declaratory judgments “when the judgment will serve a

useful purpose in clarifying and settling the legal relations in issue,” or “when it will terminate and

afford relief from the uncertainty, insecurity, and controversy giving rise to the proceeding.” ESI,

Inc. v. Coastal Power Production Co., 995 F. Supp. 419, 429 (S.D.N.Y. 1998) (quoting Fort

Howard Paper Co. v. William D. Witter, Inc., 787 F.2d 784, 790 (2d Cir. 1986)). Whether Plaintiff

must sign a release of all claims if she prevails on her ERISA claim and the issues arising therefrom

most assuredly satisfies this standard.

       Plaintiff does not allege that she executed a separation agreement and general release.

Indeed, Plaintiff refused to sign the separation agreement and general release she was offered at



Louis Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 88 (2d Cir. 2012) (quoting Fed. R. Evid.
201(b)(2)); Lia v. Saporito, 909 F. Supp. 2d 149, 161 (E.D.N.Y. 2012) (citations omitted)
(“[a]gency determinations and administrative findings are public records of which a court may
properly take judicial notice.”). It is therefore proper to rely on the documents relied on and
incorporated by reference throughout Plaintiff’s Amended Complaint.


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the time her employment was terminated and she refused to sign it any time during the

consideration period following her termination. Thus, she has failed to meet the condition

precedent to her receipt of severance benefits under the Plan. A release can be a valid condition

precedent to the receipt of severance benefits. See Loskill v. Barnett Banks, Inc. Severance Pay

Plan, 289 F.3d 734, 737 (11th Cir. 2002). In Loskill, the court relied upon Lockheed Corp. v.

Spink, 517 U.S. 882, 888, 116 S.Ct. 1783, 135 L.Ed.2d 153 (1996), where the United States

Supreme Court addressed whether an employer’s requirement that an employee sign a release of

all claims against the employer prior to receiving benefits under a welfare plan violated § 406 of

ERISA. The Loskill court noted that “although the Supreme Court did not address whether such a

requirement would violate an anti-cutback provision, its discussion provides some guidance as to

whether we should view the release amendment as a reduction or elimination of benefits or as a

condition precedent to the receipt of those benefits. The Supreme Court stated, ‘[An] employer

can ask [an] employee to continue to work for the employer, to cross a picket line, or to retire

early. The execution of a release of claims against the employer is functionally no different; like

these other conditions, it is an act that the employee performs for the employer in return for

benefits.’ Id. at 894, 116 S. Ct. 1783. Thus, it seems clear that the Supreme Court views this type

of requirement as a condition precedent.” Loskill, 289 F.3d at 737.

       Here, like in Loskill, the unambiguous terms of the 2022 ERISA Severance Plan require an

employee to sign a general release of all claims as a condition precedent to receiving any severance

benefits. (See Exhibit A, pp. 5-6). As such, the terms of the 2022 ERISA Severance Plan are clear,

if Plaintiff prevails on her ERISA claim, she must first execute a general release of all her claims

against Defendants in order to receive her severance benefits.




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IV.    CONCLUSION

       For the reasons set forth above and the plain language in the 2022 ERISA Severance Plan,

the Court should grant Defendants’ motion and issue a declaratory that if Plaintiff prevails on her

ERISA claim she must sign a release of all claims and all other claims in her Amended Complaint

must be dismissed.


Dated: November 25, 2024
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